                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN
                                      MILWAUKEE DIVISION


PAUL HUNT,
on behalf of himself and
all others similarly situated,                                Case No. 22-cv-980

                 Plaintiff,                                   COLLECTIVE AND CLASS
                                                              ACTION COMPLAINT
                                                              PURSUANT TO 29 U.S.C. §216(b)
        v.                                                    AND FED. R. CIV. P. 23

GREIF, INC.                                                   JURY TRIAL DEMANDED
425 Winter Road
Delaware, Ohio 43015

        and

THE NEWARK GROUP, INC.
425 Winter Road
Delaware, Ohio 43015

                 Defendants


                                          COMPLAINT


                                   PRELIMINARY STATEMENT

        1.       This is a collective and class action brought pursuant to the Fair Labor Standards

Act of 1938, as amended, (“FLSA”), and Wisconsin’s Wage Payment and Collection Laws, Wis.

Stat. § 109.01 et seq., Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code

§ DWD 274.01 et seq., and Wis. Admin. Code § DWD 272.001 et seq. (“WWPCL”) and Fed. R.

Civ. P. 23, by Plaintiff, Paul Hunt, on behalf of himself and all other similarly situated current and

former hourly-paid, non-exempt employees of Defendants, Greif, Inc. and The Newark Group,

Inc., for purposes of obtaining relief under the FLSA and WWPCL for unpaid overtime




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compensation, unpaid straight time (regular) and/or agreed upon wages, liquidated damages, costs,

attorneys’ fees, declaratory and/or injunctive relief, and/or any such other relief the Court may

deem appropriate.

       2.       Defendants operated an unlawful compensation system that deprived and failed to

compensate Plaintiff and all other current and former hourly-paid, non-exempt employees for all

hours worked and work performed each workweek, including at an overtime rate of pay for each

hour worked in excess of forty (40) hours in a workweek, by shaving time (via electronic timeclock

rounding) from Plaintiff’s and all other hourly-paid, non-exempt employees’ weekly timesheets

for pre-shift and post-shift hours worked and/or work performed, to the detriment of said

employees and to the benefit of Defendants, in violation of the FLSA and WWPCL.

       3.       Defendants’ failure to compensate its hourly paid, non-exempt employees for

compensable work performed each workweek, including but not limited to at an overtime rate of

pay, was intentional, willful, and violated federal law as set forth in the FLSA and state law as set

forth in the WWPCL.

                                  JURISDICTION AND VENUE

       4.       This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the FLSA, 29 U.S.C. §§ 201, et seq.

       5.       This Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over the

state law claims, Wisconsin’s Wage Payment and Collection Laws, Wis. Stat. § 109.01 et seq.,

Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code § DWD 274.01 et seq.,

and Wis. Admin. Code § DWD 272.001 et seq., because they are so related in this action within

such original jurisdiction that they form part of the same case or controversy under Article III of

the United States Constitution.




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       6.       Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c), because a

substantial part of the events or omissions giving rise to the claims occurred in this District, and

Defendants have substantial and systematic contacts in this District.

                                             PARTIES

       7.       Plaintiff, Paul Hunt, is an adult male resident of the State of Wisconsin residing at

2428 North 41st Street, Milwaukee, Wisconsin 53210.

       8.       Plaintiff’s Notice of Consent to Join this collective action pursuant to 29 U.S.C.

§ 216(b) was contemporaneously filed with the Complaint (ECF No. 1).

       9.       Defendant, Grief, Inc., is an Ohio-based company doing business in the State of

Wisconsin with a principal office address of 425 Winter Road, Delaware, Ohio 43015.

       10.      Defendant Greif, Inc. is an industrial packaging products manufacturer.

       11.      During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Defendant Grief, Inc. owned, operated, and managed Defendant The Newark Group,

Inc.

       12.      Defendant, The Newark Group, Inc., is an Ohio-based company doing business in

the State of Wisconsin with a principal office address of 425 Winter Road, Delaware, Ohio 43015.

       13.      Defendant The Newark Group, Inc. is a paperboard product manufacturer.

       14.      For purposes of the FLSA, Defendants were “employers” of “employees,”

including Plaintiff, as those terms are used in 29 U.S.C. §§ 203(d) and (e).

       15.      For purposes of the WWPCL, Defendants were “employers” of Plaintiff, and

Plaintiff was “employed” by Defendants, as those terms, or variations thereof, are used in Wis.

Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD 272.01.




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        16.    During the relevant time periods as stated herein, Defendants were engaged in

“commerce” and/or its employees were engaged in “commerce,” as that term is defined under the

FLSA.

        17.    During the relevant time periods as stated herein, Defendants, individually and

collectively, employed more than two (2) employees.

        18.    During the relevant time periods as stated herein, Defendants’ annual dollar volume

of sales or business, individually and collectively, exceeded $500,000.

        19.    During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff worked as an hourly-paid, non-exempt employee in the position of Utility

Worker at Defendants’ direction, on Defendants’ behalf, for Defendants’ benefit, and/or with

Defendants’ knowledge alongside all other hourly-paid, non-exempt employees at Defendants’

Milwaukee, Wisconsin location.

        20.    Plaintiff brings this action on behalf of himself and all other similarly-situated

current and former hourly-paid, non-exempt employees who work at, worked at, and/or were

employed by Defendants within the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1). Plaintiff performed similar job duties as other current and former hourly-

paid, non-exempt employees in similarly-titled positions who work at, worked at, and/or were

employed by Defendants at locations owned, operated, and managed by Defendants, and Plaintiff

and all other current and former hourly-paid, non-exempt employees were subject to Defendants’

same unlawful compensation policies and practices as enumerated herein.

        21.    During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendants hired, terminated, promoted, demoted, and/or suspended Plaintiff and all other

hourly-paid, non-exempt employees.




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          22.   During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendants supervised Plaintiff’s and all other hourly-paid, non-exempt employees’ day-

to-day activities.

          23.   During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendants reviewed Plaintiff’s work performance and the work performance of all other

hourly-paid, non-exempt employees.

          24.   During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendants established Plaintiff’s and all other hourly-paid, non-exempt employees’ work

schedules and provided Plaintiff and all other hourly-paid, non-exempt employees with work

assignments and hours of work.

          25.   During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Plaintiff and all other hourly-paid, non-exempt employees similarly utilized Defendants’

employment policies, practices, and/or procedures in the performance of their job duties.

          26.   During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendants oversaw, managed, and adjudicated Plaintiff’s and all other hourly-paid, non-

exempt employees’ employment-related questions, benefits-related questions, and workplace

issues.

          27.   During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendants established the terms and conditions of Plaintiff’s and all other hourly-paid,

non-exempt employees’ employment.




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                                 GENERAL ALLEGATIONS

       28.     In approximately May 2022, Defendants hired Plaintiff into the position of Utility

Work working primarily at Defendants’ Milwaukee, Wisconsin location.

       29.     During the entirety of Plaintiff’s employment with Defendants, Defendants

compensated Plaintiff on an hourly basis and/or with an hourly rate of pay.

       30.     During the entirety of Plaintiff’s employment with Defendants, Plaintiff was a non-

exempt employee for purposes of the FLSA and WWPCL.

       31.     On or about July 31, 2022, Plaintiff’s employment with Defendants ended.

       32.     On a daily basis during Plaintiff’s employment with Defendants, Plaintiff worked

alongside other hourly-paid, non-exempt employees at Defendants’ direction, on Defendants’

behalf, for Defendants’ benefit, and/or with Defendants’ knowledge at Defendants’ Milwaukee,

Wisconsin location.

       33.     During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Plaintiff and all other hourly-paid, non-exempt employees were employed by Defendants

in hourly-paid, non-exempt job positions and performed compensable work on Defendants’ behalf,

with Defendants’ knowledge, for Defendants’ benefit, and/or at Defendants’ direction at locations

that were owned, operated, and managed by Defendants.

       34.     During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees regularly worked in excess

of forty (40) hours per workweek.

       35.     During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendants knew or had knowledge that Plaintiff and all other hourly-paid, non-exempt

employees worked in excess of forty (40) hours per workweek.




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       36.    During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Defendants compensated Plaintiff and all other hourly-paid, non-exempt employees

on a bi-weekly basis via check.

       37.    During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Defendants’ workweek for FLSA and WWPCL purposes was Sunday through

Monday.

       38.    During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Plaintiff and all current and former hourly-paid, non-exempt employees were subject to

Defendants’ same unlawful policy, practice, custom, and/or scheme of shaving time (via electronic

timeclock rounding) from Plaintiff’s and all other hourly-paid, non-exempt employees’ weekly

timesheets for pre-shift and post-shift hours worked and/or work performed, to the detriment of

said employees and to the benefit of Defendants.

       39.    During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees were subject to

Defendants’ same pay and timekeeping policies and practices.

       40.    During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendants tracked and/or recorded Plaintiff’s and all other hourly-paid, non-exempt

employees’ hours worked each workweek.

       41.    During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Defendants maintained an electronic time-clock system (hereinafter simply

“Defendants’ electronic timekeeping system”) that Plaintiff and all other hourly-paid, non-exempt

employees used on a daily basis for timekeeping and/or recordkeeping purposes.




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       42.     During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees used Defendants’

electronic timekeeping system on a daily basis for timekeeping and/or recordkeeping purposes.

       43.     During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendants maintained employment records and other documentation regarding Plaintiff

and all other hourly-paid, non-exempt employees.

       44.     During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendants maintained a centralized system for tracking and/or recording hours worked

by Plaintiff and all other hourly-paid, non-exempt employees.

       45.     During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendants maintained a centralized system for compensating Plaintiff and all other

hourly-paid, non-exempt employees for all remuneration earned, including but not limited to with

monetary bonuses, incentives, awards, and/or other rewards and payments.

       46.     During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees used Defendants’

electronic timekeeping system to “clock in” and to “clock out” of work each day at the beginning

and end of their shifts, respectively.

       47.     During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees performed compensable

work immediately after “clocking in” via Defendants’ electronic timekeeping system at the

beginning of their shifts each workday.

       48.     During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees performed compensable




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work immediately prior to “clocking out” via Defendants’ electronic timekeeping system at the

end of their shifts each workday.

       49.     During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff’s and all other hourly-paid, non-exempt employees’ “clock in” and “clock

out” times each workday via Defendants’ electronic timekeeping system were kept, stored, and/or

retained by Defendants.

       50.     During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Plaintiff’s and all other hourly-paid, non-exempt employees’ “clock in” and “clock out”

times each workday via Defendants’ electronic timekeeping system recorded, reflected, and

represented actual hours worked and work performed each workday and each workweek by

Plaintiff and all other hourly-paid, non-exempt employees. However, during the three (3) years

immediately preceding the filing of this Complaint (ECF No. 1), Defendants’ pay policies and

practices failed to compensate Plaintiff and all other hourly-paid, non-exempt employees for all

hours actually worked and/or work performed each workday and each workweek.

       51.     Each workday during the three (3) years immediately preceding the filing of the

Complaint (ECF No. 1), Defendants directed, expected, and/or required Plaintiff and all other

hourly-paid, non-exempt employees to arrive to work on Defendants’ premises and to “clock in”

via Defendants’ electronic timekeeping system and prior to their scheduled shift start times in order

to attend “pre shift” meetings, typically organized and run by Supervisors, Superintendents, and/or

Managers.

       52.     Each workday during the three (3) years immediately preceding the filing of the

Complaint (ECF No. 1), Defendants directed, expected, and/or required Plaintiff and all other

hourly-paid, non-exempt employees to arrive to work on Defendants’ premises and to “clock in”




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via Defendants’ electronic timekeeping system and prior to their scheduled shift start times in order

to don job-related and required protective gear and other equipment, such as helmet, safety glasses,

safety gloves, earplugs, steel-toed shoes, and uniforms.

       53.     Each workday during the three (3) years immediately preceding the filing of the

Complaint (ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees arrived to work

on Defendants’ premises and “clocked in” via Defendants’ electronic timekeeping system prior to

their scheduled shift start times in order to don job-related and required protective gear and other

equipment, such as helmet, safety glasses, safety gloves, earplugs, steel-toed shoes, and uniforms,

and to attend “pre shift” meetings, typically organized and run by Supervisors, Superintendents,

and/or Managers.

       54.     Each workday during the three (3) years immediately preceding the filing of the

Complaint (ECF No. 1), Plaintiff’s normal or customary daily routine prior to his 6:30 a.m.

scheduled shift start time was as follows: he arrived to work at Defendants and entered the

building; he “clocked in” via Defendant’s electronic timekeeping system at approximately 6:10

a.m. and donned job-related and required protective gear and other equipment; and attended a “pre

shift” meeting at approximately 6:15 a.m.; and he began his production work by his normal or

customary scheduled shift start time of 6:30 a.m.

       55.     During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Plaintiff’s normal or customary daily routine prior to his scheduled shift start time each

workday as stated in the aforementioned paragraph was similar, if not identical, for him and all

other hourly-paid, non-exempt employees.

       56.     During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), the job-related protective gear and other equipment that Plaintiff and all other hourly-paid,




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non-exempt employees donned each work day after “clocking in” via Defendants’ electronic

timekeeping system but prior to their scheduled shift start times each workday was integral and

indispensable to performing their job duties.

       57.     During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Plaintiff’s and other hourly-paid, non-exempt employees’ Supervisors, Superintendents,

and/or Managers – and even Defendants’ Human Resources representative – directed, expected,

and/or required said employees to arrive to work at Defendants, to “clock in” via Defendant’s

electronic timekeeping system, and to be “ready to work” prior to the “pre shift” meetings because

timely attendance at said meetings was “mandatory.”

       58.     During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendants failed to compensate Plaintiff and all other hourly-paid, non-exempt employees

for engaging in the types of compensable activities as described herein after “clocking in” via

Defendants’ electronic timekeeping system but prior to their scheduled shift start times each

workday.

       59.     During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendants’ compensation practice applicable to Plaintiff and all other hourly-paid, non-

exempt employees at the beginning of their shifts each workday was to round said employees’

actual hours worked and/or work performed forward to said employees’ scheduled shift start times

in fifteen (15) minute increments. For example, during Plaintiff’s employment with Defendants,

and if Plaintiff arrived to work at Defendants, “clocked in” via Defendants’ electronic timekeeping

system at 6:10 a.m. (in order to timely attend the “pre shift” meetings as directed, required, and/or

expected by Defendants) and donned job-related and required protective gear and other equipment,

Defendants’ compensation practice rounded Plaintiff’s start time for compensation purposes to




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either 6:15 a.m. or to his scheduled shift start time of 6:30 a.m. Such a rounding practice in this

regard was non-neutral and resulted in Defendants shaving time from Plaintiff’s and all other

hourly-paid, non-exempt employees’ timesheets each workday and each workweek for pre-shift

hours worked and/or work performed, to the detriment of said employees and to the benefit of

Defendants.

       60.     Each workday during the three (3) years immediately preceding the filing of the

Complaint (ECF No. 1), Plaintiff’s normal or customary daily routine at his scheduled shift end

time was as follows: perform production work until another employee relieved him from his shift;

communicate with the other employee(s) regarding work assignments and tasks for the day;

physically remove job-related protective gear and other equipment; clean up; and “clock out” via

Defendants’ electronic timekeeping system and leave Defendants’ premises.

       61.     During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Plaintiff’s normal or customary daily routine at his scheduled shift end time each workday

as stated in the aforementioned paragraph was similar, if not identical, for him and all other hourly-

paid, non-exempt employees.

       62.     During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendants’ compensation practice applicable to Plaintiff and all other hourly-paid, non-

exempt employees at the end of their shifts each workday was to round said employees’ actual

hours worked and/or work performed backwards to said employees’ scheduled shift end times. For

example, during Plaintiff’s employment with Defendants, and if Plaintiff “clocked out” via

Defendants’ electronic timekeeping system at approximately 2:35 p.m. for his customary 2:30 p.m.

scheduled shift end time, Defendants’ compensation practice failed to pay Plaintiff for any work

performed after 2:30 p.m. and rounded Plaintiff’s end time for compensation purposes back to his




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scheduled shift end time of 2:30 p.m. Such a rounding practice in this regard was non-neutral and

resulted in Defendants shaving time from Plaintiff’s and all other hourly-paid, non-exempt

employees’ timesheets each workday and each workweek for post-shift hours worked and/or work

performed, to the detriment of said employees and to the benefit of Defendants.

       63.     During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendants’ policies in practice failed to compensate Plaintiff and all other hourly-paid,

non-exempt employees at the correct and lawful overtime rate of pay for all hours worked and

work performed in excess of forty (40) hours in a workweek.

       64.     During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Defendants knew and/or was aware that their pay policies and practices failed to

compensate Plaintiff and all other hourly-paid, non-exempt employees for all pre-shift and post-

shift compensable work performed as described herein.

       65.     During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Defendants did not properly and lawfully compensate Plaintiff and all other hourly-

paid, non-exempt employees for all hours actually worked and/or work performed each workday

and each workweek, including but not limited to at an overtime rate of pay.

       66.     During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Defendants’ policies in practice unlawfully and impermissibly failed to, on a daily

and/or weekly basis, compensate Plaintiff and all other hourly-paid, non-exempt employees when

compensable work commenced and ceased each workday.

       67.     During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1) and during workweeks when no overtime was due, if any, Defendants suffered or

permitted Plaintiff and all other hourly-paid, non-exempt employees to work without being paid




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appropriate and lawful compensation for all hours worked and/or work performed each workday

and each workweek.

       68.     Defendants were or should have been aware that their compensation policies in

practice failed to compensate Plaintiff and all other hourly-paid, non-exempt employees in the

same or similar fashion for all hours worked and/or work performed each workday and each

workweek, including but not limited to at an overtime rate of pay.

               COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

       69.     Plaintiff brings this action on behalf of himself and all other similarly situated

employees as authorized under the FLSA, 29 U.S.C. § 216(b). The similarly situated employees

include:

                      All hourly-paid, non-exempt employees employed by
                      Defendants within the three (3) years immediately preceding
                      the filing of this Complaint (ECF No. 1) who have not been
                      compensated for all hours worked in excess of forty (40)
                      hours in a workweek at the proper, correct, and/or lawful
                      overtime rate of pay.

       70.     Plaintiff and the FLSA Collective primarily performed non-exempt job duties each

workweek and, thus, were legally entitled to overtime pay for all hours worked in excess of forty

(40) in a workweek.

       71.     Plaintiff and the FLSA Collective were compensated on an hourly basis (and not

on a salary basis) each workweek and, thus, were legally entitled to overtime pay for all hours

worked in excess of forty (40) in a workweek.

       72.     During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendants, as a matter of policy and practice, shaved time from the FLSA Collective’s

timesheets for all pre-shift and post-shift hours worked and/or work performed each workday while

“clocked in” via Defendants’ electronic timekeeping system. These practices resulted in Plaintiff




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and the FLSA Collective being denied overtime compensation by Defendants at the rate of one

and one-half times their regular hourly rate of pay for hours worked in excess of forty (40) in a

workweek.

       73.     During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendants, as a matter of policy and practice, shaved time from the FLSA Collective’s

timesheets by not compensating the FLSA Collective for compensable work time prior to their

scheduled shift start times and subsequent to their scheduled shift end times. As such, Defendants’

practice of compensating the FLSA Collective based only on daily scheduled shift times resulted

in the FLSA Collective being denied overtime compensation by Defendants at the rate of one and

one-half times their regular hourly rate of pay for hours worked in excess of forty (40) in a

workweek.

       74.     The First Claim for Relief is brought under and maintained as an opt-in Collective

Action pursuant to § 216(b) of the FLSA, 29 U.S.C. 216(b), by Plaintiff on behalf of the FLSA

Collective.

       75.     The FLSA Collective claims may be pursued by those who affirmatively opt in to

this case, pursuant to 29 U.S.C. § 216(b).

       76.     Plaintiff and the FLSA Collective are and have been similarly situated, have and

have had substantially similar job requirements and pay provisions, and are and have been subject

to Defendants’ decisions, policies, plans and programs, practices, procedures, protocols, routines,

and rules willfully failing and refusing to compensate them for each hour worked including

overtime compensation. The claims of Plaintiff as stated herein are the same as those of the FLSA

Collective.




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       77.     Plaintiff and the FLSA Collective seek relief on a collective basis challenging,

among other FLSA violations, Defendants’ practice of failing to properly and lawfully compensate

employees for all work performed and/or hours worked at the correct and lawful overtime rate of

pay each workweek, in violation of the FLSA.

       78.     Defendants were or should have been aware that their unlawful practices failed to

compensate and deprived Plaintiff and the FLSA Collective of the appropriate and lawful overtime

wages and compensation due and owing to them, in violation of the FLSA.

       79.     The FLSA Collective is readily ascertainable. For purpose of notice and other

purposes related to this action, the names, phone numbers, and addresses are readily available from

Defendants. Notice can be provided to the FLSA Collective via first class mail to the last address

known by Defendant and through posting at Defendants’ facilities in areas where postings are

normally made.

       80.     Defendants’ conduct, as set forth in this Complaint, was willful and in bad faith,

and has caused significant damages to Plaintiff and the putative FLSA Collective.

                     RULE 23 CLASS ALLEGATIONS – WISCONSIN

       81.     Plaintiff brings this action on behalf of himself and all other similarly-situated

employees pursuant to the WWPCL, under Fed. R. Civ. P. 23. The similarly situated employees

include:

                      All hourly-paid, non-exempt employees employed by
                      Defendants in the State of Wisconsin within the two (2)
                      years immediately preceding the filing of this Complaint
                      (ECF No. 1) through the date of judgment who have not been
                      compensated for all hours worked each workweek – either
                      at a regular rate of pay or at an overtime rate of pay – as a
                      result of Defendants’ timeshaving practices.




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       82.     The members of the Wisconsin Class are readily ascertainable. The number and

identity of the members of the Wisconsin Class are determinable from the records of Defendants.

The job titles, length of employment, and the rates of pay for each member of the Wisconsin Class

is also determinable from Defendants’ records. For purposes of notice and other purposes related

to this action, their names and addresses are readily available from Defendants. Notice can be

provided by means permissible under Fed. R. Civ. P. 23.

       83.     The proposed Wisconsin Class so numerous that joinder of all members is

impracticable, and more importantly the disposition of their claims as a class will benefit the parties

and the Court. Although the precise number of such persons is unknown, upon information and

belief, there are over one hundred (100) members of the Wisconsin Class.

       84.     Plaintiff’s claims are typical of those claims which could be alleged by any member

of the Wisconsin Class, and the relief sought is typical of the relief which would be sought by each

member of the Wisconsin Class in separate actions. All of the members of the Wisconsin Class

were subject to the same corporate practices of Defendants, as alleged herein. Defendants’

corporate-wide policies and practices affected all members of the Wisconsin Class similarly, and

Defendants benefited from the same type of unfair and/or wrongful acts as to each member of the

Wisconsin Class. Plaintiff and other members of the Wisconsin Class sustained similar losses,

injuries and damages arising from the same unlawful policies and practices and procedures.

       85.     Plaintiff is able to fairly and adequately protect the interests of the Wisconsin Class

and has no interests antagonistic to the Wisconsin Class. Plaintiff is represented by counsel who

are experienced and competent in both collective/class action litigation and employment litigation

and have previously represented plaintiffs in wage and hour cases.




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       86.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a number of similarly-situated persons to

prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because the losses, injuries and damages suffered by each of the individual Wisconsin Class

members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual members

of the Wisconsin Class to redress the wrongs done to them.

       87.     Important public interests will be served by addressing the matter as a class action.

The adjudication of individual litigation claims would result in a great expenditure of Court and

public resources; however, treating the claims as a class action would result in a significant saving

of these costs. The prosecution of separate actions by individual members of the Wisconsin Class

would create a risk of inconsistent and/or varying adjudications with respect to the individual

members of the Wisconsin Class, establishing incompatible standards of conduct for Defendants

and resulting in the impairment of class members’ rights and the disposition of their interests

through actions to which they were not parties. The issues in this action can be decided by means

of common, class-wide proof. In addition, if appropriate, the Court can, and is empowered to,

fashion methods to efficiently manage this action as a class action.

       88.     Defendants have violated the WWPCL regarding payment of regular wages and

overtime wages. Current employees are often afraid to assert their rights out of fear of direct or

indirect retaliation. Former employees are fearful of bringing claims because doing so can harm




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their employment, future employment, and future efforts to secure employment. Class actions

provide class members who are not named in the Complaint a degree of anonymity which allows

for the vindication of their rights while eliminating or reducing these risks.

       89.     There are questions of fact and law common to the Wisconsin Class that

predominate over any questions affecting only individual members. The questions of law and fact

common to the Wisconsin Class arising from Defendants’ actions include, without limitation, the

following: (1) Whether the work performed by Plaintiff and the Wisconsin Class is compensable

under federal law and/or Wisconsin law; (2) Whether Defendants engaged in a pattern or practice

of forcing, coercing, deceiving and/or permitting Plaintiff and the Wisconsin Class to perform

work for Defendants’ benefit without being properly compensated; (3) Whether Defendants failed

to pay Plaintiff and the Wisconsin Class for all work Defendants suffered or permitted them to

perform each work day and each workweek; and (4) The nature and extent of class-wide injury

and the measure of damages for the injury.

       90.     The questions set forth above predominate over any questions affecting only

individual persons, and a class action is superior with respect to considerations of consistency,

economy, efficiency, fairness and equity, to other available methods for the fair and efficient

adjudication of the state law claims.

                                  FIRST CLAIM FOR RELIEF
                       Violations of the FLSA – Unpaid Overtime Wages
                    (Plaintiff on behalf of himself and the FLSA Collective)

       91.     Plaintiff, on behalf of himself and the FLSA Collective, reasserts and incorporates

by reference all paragraphs set forth above as if restated herein.

       92.     At all times material herein, Plaintiff and the FLSA Collective have been entitled

to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. § 201 et seq.




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       93.     At all times material herein, Defendants were employers of Plaintiff and the FLSA

Collective as provided under the FLSA.

       94.     At all times material herein, Plaintiff and the FLSA Collective were employees of

Defendants as provided under the FLSA.

       95.     Plaintiff and the FLSA Collective are victims of uniform compensation policy and

practice in violation of the FLSA.

       96.     Defendants violated the FLSA by suffering or permitting Plaintiff and the FLSA

Collective to perform work without being properly or lawfully compensated for each hour worked

in excess of forty (40) hours each workweek. Specifically, Defendants’ unlawful compensation

practice shaved time from the FLSA Collective’s timesheets for all pre-shift and post-shift hours

worked and/or work performed, and by failing to compensate the FLSA Collective in such a

fashion as described herein, this unlawful compensation practice denied Plaintiff and the FLSA

Collective overtime premium pay for each hour they worked in excess of forty (40) hours each

workweek and for which Defendants are liable pursuant to 29 U.S.C. § 216(b).

       97.     The FLSA regulates, among other things, the payment of an overtime premium by

employers whose employees are engaged in commerce, or engaged in the production of goods for

commerce, or employed in an enterprise engaged in commerce or in the production of goods for

commerce. 29 U.S.C. § 207(a)(1).

       98.     Defendants were and are subject to the overtime pay requirements of the FLSA

because Defendants are enterprises engaged in commerce and/or their employees are engaged in

commerce, as defined in FLSA, 29 U.S.C. § 203(b).

       99.     Defendants’ failure to properly compensate Plaintiff and the FLSA Collective and

failure to properly record all compensable work time was willfully perpetrated. Defendants have




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not acted in good faith and with reasonable grounds to believe that their actions and omissions

were not a violation of the FLSA, and as a result thereof, Plaintiff and the FLSA Collective are

entitled to recover an award of liquidated damages in an amount equal to the amount of unpaid

overtime premium pay described above pursuant to Section 216(b) of the FLSA, 29 U.S.C. §

216(b). Alternatively, should the Court find that Defendants did not act willfully in failing to pay

overtime premium pay wages, Plaintiff and the FLSA Collective are entitled to an award of pre-

judgment interest at the applicable legal rate.

       100.    Plaintiff and the FLSA Collective are entitled to damages equal to the mandated

overtime premium pay within the three (3) years preceding the date of filing of this Complaint,

plus periods of equitable tolling because Defendants acted willfully and knew or showed reckless

disregard of whether its conduct was prohibited by the FLSA.

       101.    Pursuant to FLSA, 29 U.S.C. § 216(b), successful plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action for

unpaid wages and overtime wages.

                                 SECOND CLAIM FOR RELIEF
                     Violations of the WWPCL – Unpaid Overtime Wages
                    (Plaintiff, on behalf of himself and the Wisconsin Class)

       102.    Plaintiff, on behalf of himself and the Wisconsin Class, reasserts and incorporates

all previous paragraphs as if they were set forth herein.

       103.    At all relevant times, Plaintiff and the Wisconsin Class were employees of

Defendants within the meaning of Wis. Stat. §§ 109.01(1r), 103.001(5), and 104.01(2)(a).

       104.    At all relevant times, Defendants were employers of Plaintiff and the Wisconsin

Class within the meaning of Wis. Stat. §§ 109.01(2), 103.001(6), and 104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).




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       105.    At all relevant times, Defendants employed Plaintiff and the Wisconsin Class

within the meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin.

Code § DWD 272.01.

       106.    Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of their principal

activities without receiving compensation for these activities.

       107.    At all relevant times, Defendants had common policies, programs, practices,

procedures, protocols, routines, and rules of willfully failing to properly pay Plaintiff and the

Wisconsin Class regular wages and overtime compensation.

       108.    Throughout the Wisconsin Class Period, Defendants maintained and perpetrated an

unlawful compensation practice that shaved time from Plaintiff’s and the Wisconsin Class’

timesheets for all pre-shift and post-shift hours worked and/or work performed each work day and

each workweek, resulting in Defendants impermissibly and unlawfully failing to compensate

Plaintiff and the Wisconsin Class for any and all hours worked and/or work performed each work

day and each workweek at an overtime rate of pay, in violation of the WWPCL.

       109.    Defendants willfully failed to pay Plaintiff and the Wisconsin Class overtime

premium compensation for all hours worked in excess of forty (40) hours a workweek, in violation

of the WWPCL.

       110.    As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendants’ violations. Accordingly, Plaintiff

and the Wisconsin Class seek damages in the amount of their respective unpaid compensation,

injunctive relief requiring Defendants to cease and desist from their violations of the Wisconsin

laws described herein and to comply with them, and such other legal and equitable relief as the




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Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin Class may be

entitled to liquidated damages equal and up to fifty percent (50%) of the unpaid wages.

       111.    Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

this action to be paid by Defendants pursuant to the WWPCL.

                                 THIRD CLAIM FOR RELIEF
              Violations of the WWPCL – Failure to Pay an Agreed-Upon Wage
                   (Plaintiff, on behalf of himself and the Wisconsin Class)

       112.    Plaintiff, on behalf of himself and the Wisconsin Class, reasserts and incorporates

all previous paragraphs as if they were set forth herein.

       113.    At all relevant times, Plaintiff and the Wisconsin Class were employees of

Defendants within the meaning of Wis. Stat. §§ 109.01(1r), 103.001(5), and 104.01(2)(a).

       114.    At all relevant times, Defendants were employers of Plaintiff and the Wisconsin

Class within the meaning of Wis. Stat. §§ 109.01(2), 103.001(6), and 104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

       115.    At all relevant times, Defendants employed Plaintiff and the Wisconsin Class

within the meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin.

Code § DWD 272.01.

       116.    Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of their principal

activities without receiving compensation for these activities.

       117.    Throughout the Wisconsin Class Period, the Wisconsin Class was entitled to

payments from Defendants at their agreed upon wage, as defined in Wis. Stat. § 109.01(3), for

each hour worked, pursuant to Wis. Stat. § 109.03.




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       118.    Throughout the Wisconsin Class Period, Defendants did not compensate the

Wisconsin Class for each and every hour worked each workday, in accordance with Wis. Admin.

Code § DWD 272.

       119.    Throughout the Wisconsin Class Period, Defendants maintained and perpetrated an

unlawful compensation practice that failed to pay the Wisconsin Class for all pre-shift and post-

shift hours worked and/or work performed each workday and each workweek, resulting in

Defendants impermissibly and unlawfully failing to compensate the Wisconsin Class with agreed-

upon wages, in violation of the WWPCL.

       120.    Defendants willfully failed to pay Plaintiff and the Wisconsin Class compensation

for all hours worked at an agreed-upon rate that did not exceed forty (40) hours in a workweek, in

violation of the WWPCL.

       121.    As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendants’ violations. Accordingly, Plaintiff

and the Wisconsin Class seek damages in the amount of their respective unpaid compensation,

injunctive relief requiring Defendants to cease and desist from their violations of the Wisconsin

laws described herein and to comply with them, and such other legal and equitable relief as the

Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin Class may be

entitled to liquidated damages equal and up to fifty percent (50%) of the unpaid wages.

       122.    Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

this action to be paid by Defendants pursuant to the WWPCL.




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WHEREFORE, it is respectfully prayed that this Court grant the following relief:

   a) At the earliest possible time, issue an Order allowing Notice, or issue such Court
      supervised Notice, to all similarly-situated current and former hourly-paid, non-
      exempt employees who worked at and/or were employed by Defendants informing
      them of this action and their rights to participate in this action. Such Notice shall
      inform all similarly-situated current and qualified former employees of the
      pendency of this action, the nature of this action, and of their right to “opt in” to
      this action. Additionally, such notice will include a statement informing the
      similarly-situated current and qualified former employees that it is illegal for
      Defendants to take any actions in retaliation of their consent to join this action;

   b) At the earliest possible time, issue an Order certifying this action as a class action
      pursuant to Federal Rules of Civil Procedure 23;

   c) At the earliest possible time, issue an Order appointing Walcheske & Luzi, LLC as
      class counsel pursuant to Federal Rules of Civil Procedure 23;

   d) Issue an Order, pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202,
      declaring Defendants’ actions as described in the Complaint as unlawful and in
      violation of the FLSA and Wisconsin Law and applicable regulations and as willful
      as defined in the FLSA and Wisconsin Law;

   e) Issue an Order directing and requiring Defendants to pay Plaintiff and all other
      similarly-situated hourly-paid, non-exempt employees damages in the form of
      reimbursement for unpaid overtime wages and/or agreed-upon wages for all time
      spent performing compensable work for which they were not paid pursuant to the
      rate provided by the FLSA and WWPCL;

   f) Issue an Order directing and requiring Defendants to pay Plaintiff and all other
      similarly-situated hourly-paid, non-exempt employees liquidated damages
      pursuant to the FLSA and WWPCL in an amount equal to, and in addition to the
      amount of wages and overtime wages owed to them;

   g) Issue an Order directing Defendants to reimburse Plaintiff and all other similarly-
      situated hourly-paid, non-exempt employees for the costs and attorneys’ fees
      expended in the course of litigating this action, pre-judgment and post-judgment
      interest; and

   h) Provide Plaintiff and all other similarly-situated hourly-paid, non-exempt
      employees with other relief that the Court deems just and equitable.




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             PLAINTIFF DEMANDS A JURY AS TO ALL TRIABLE ISSUES

             Dated this 26th day of August, 2022

                                                   WALCHESKE & LUZI, LLC
                                                   Counsel for Plaintiff

                                                   s/ Scott S. Luzi                    .




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